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8                            UNITED STATES DISTRICT COURT
9                          CENTRAL DISTRICT OF CALIFORNIA
10    JARDINE GOUGIS,                            CASE NO. 2:21-cv-05589 AB (GJSx)
11                    Plaintiff,                 ORDER DISMISSING CIVIL ACTION
12    v.
13
      DIANA N. FLORES; and DOES 1 to
14    10,

15                    Defendants.
16
17         THE COURT has been advised that this action has been settled.
18         IT IS THEREFORE ORDERED that this action is hereby dismissed without
19   costs and without prejudice to the right, upon good cause shown within 30 days, to re-
20   open the action if settlement is not consummated. This Court retains full jurisdiction
21   over this action and this Order shall not prejudice any party to this action.
22
23   Dated: October 19, 2021          _______________________________________
24                                    ANDRÉ BIROTTE JR.
                                      UNITED STATES DISTRICT JUDGE
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